
269 S.W.3d 545 (2008)
In re the Matter of Oscar Douglas WASHINGTON, Deceased.
Dorthea Washington, Personal Representative for the Estate of Oscar Douglas Washington, Petitioner/Appellant,
v.
US Bank, NA, Respondent/Respondent.
No. ED 90995.
Missouri Court of Appeals, Eastern District, Division Four.
October 14, 2008.
Motion for Rehearing and/or Transfer to Supreme Court Denied November 24, 2008.
James Joseph Leightner, Clayton, MO, for appellant.
*546 Maria Gabrielle Zschoche, St. Louis, MO, for Respondent.
Before BOOKER T. SHAW, P.J., KATHIANNE KNAUP CRANE, J., and MARY K. HOFF, J.

ORDER
PER CURIAM.
Dorthea Washington appeals the trial court's summary judgment in favor of U.S. Bank on her petition for the discovery of assets seeking to recover over $209,000 in unauthorized disbursements from her deceased husband's accounts. We have reviewed the briefs and the record, and we conclude that no error of law appears. No precedential or jurisprudential purpose would be served by an opinion reciting the detailed facts and restating the principles of law. A memorandum has been provided to the parties for their use only, setting forth the reasons for this order. We affirm pursuant to Rule 84.16(b).
